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                               MAGISTRATE'S JUDGE'S MINUTES
                           IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF ARIZONA – TUCSON

 U.S. Magistrate Judge: D. Thomas Ferraro          Date: August 8, 2019
 USA v. Matthew Bowen                              Case Number: CR-18-01013-001-TUC-CKJ-DTF

Assistant U.S. Attorneys: Monica Ryan and Lori Price
Attorney for the defendant: Sean Chapman (Retained)
Hearing recorded by: CourtSmart
Courtroom deputy: Sandra G. Fuller

The defendant is present and released.

CHANGE OF PLEA HEARING

The Court GRANTS the Motion for Status Conference/Change of Plea Hearing (Doc. 104).

The defendant, Matthew Bowen, enters a plea of guilty to the misdemeanor information. A
consent to proceed before a magistrate judge and plea agreement are filed.

The Court ORDERS the trial currently set August 12, 2019 at 1:30 p.m. before the Honorable
Cindy K. Jorgenson VACATED.

The defendant may remain released on the previously imposed conditions pending Sentencing.
The Court directs the US Probation Office to prepare a Presentence Report.

Sentencing is set October 15, 2019 at 9:30 a.m. before this Court.

Mr. Chapman informs the Court the government is now in receipt of the defendant's resignation
letter to the U.S. Border Patrol. Ms. Ryan confirms to the Court she has received the defendant's
letter of resignation.

Change of Plea Hearing: 4:08 p.m. to 4:22 p.m. (14 minutes)
